        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 1 of 19




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 AMERICAN OVERSIGHT et al.,

                Plaintiffs,

        v.
                                                          Civil Action No. 19-2519 (RDM)
 U.S. DEPARTMENT OF VETERANS
 AFFAIRS et al.,

                Defendants.


                          MEMORANDUM OPINION AND ORDER

       The Federal Records Act (“FRA”) prohibits agency personnel from using private email

accounts for official business without taking certain remedial measures. 44 U.S.C. § 2911.

Upon learning of a violation of the FRA, an agency head must initiate an enforcement action

through the Attorney General to recover the records. Id. § 3106(a). If the agency head fails to

do so, the Archivist of the United States (“Archivist”) must step in to initiate the enforcement

action through the Attorney General. Id. § 3106(b). The D.C. Circuit has held that, although

these duties are mandatory, an agency may first attempt to retrieve the missing records on its

own before calling on the Attorney General.

       While serving as Secretary of the United States Department of Veterans Affairs (the

“VA”), David Shulkin used a private email account for official agency business, including

corresponding with “Mar-a-Lago associates” of President Trump about agency policy, in

violation of the FRA. After reading about former Secretary Shulkin’s unlawful email use in the

newspaper, the VA began informal efforts to retrieve the federal records from his private



                                                 1
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 2 of 19




accounts. Unsatisfied with the pace and results of that intra-agency process, Plaintiffs American

Oversight and Democracy Forward Foundation, nonprofits that advocate for government

transparency, filed this suit against the VA, current Secretary of Veterans Affairs Robert Wilkie,

the National Archives and Records Administration (“NARA”), and Archivist David Ferriero

(collectively, “Defendants”) seeking to compel them to initiate an enforcement proceeding

through the Attorney General. Defendants move to dismiss on the ground that their ongoing

efforts to acquire the records make Plaintiffs’ claims unripe for judicial determination.

       For the reasons explained below, the Court will DENY Defendants’ motion to dismiss

without prejudice and will defer consideration of the jurisdictional question presented in the

motion until later in the litigation, once the parties have had an opportunity to develop a more

complete record.

                                         I. BACKGROUND

A.     Statutory Background

       The FRA governs the “creation, management and disposal of federal records.”

Armstrong v. Bush, 924 F.2d 282, 284 (D.C. Cir. 1991). Through the FRA, Congress sought to

ensure the “[a]ccurate and complete documentation of the policies and transactions of the

Federal Government” and the “[j]udicious preservation and disposal of records.” 44 U.S.C.

§ 2902. To those ends, the FRA requires the heads of federal agencies, including the VA, to

“make and preserve records containing adequate and proper documentation of the organization,

functions, policies, decisions, procedures, and essential transactions of the agency and designed

to furnish the information necessary to protect the legal and financial rights of the Government

and of persons directly affected by the agency’s activities.” Id. § 3101. Agency heads must

establish and implement “effective controls over the creation and over the maintenance and use



                                                 2
         Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 3 of 19




of records in the conduct of current business,” id. § 3102(1), and “shall establish safeguards

against the removal or loss of records the head of such agency determines to be necessary and

required by regulations of the Archivist,” id. § 3105. The Archivist, in turn, “shall provide

guidance and assistance to [f]ederal agencies” on their records policies, id. § 2904(a); shall

“promulgate standards, procedures, and guidelines with respect to records management,”

id. § 2904(c)(1); and shall “conduct inspections or surveys of the records and records

management programs and practices within and between [f]ederal agencies,” id. § 2904(c)(7).

       As relevant here, agency officers and employees “may not create or send a record using a

non-official electronic messaging account” unless the officer or employee either “(1) copies an

official electronic messaging account of the officer or employee in the original creation or

transmission of the record” or “(2) forwards a complete copy of the record to an official

electronic messaging account of the officer or employee not later than 20 days after the original

creation or transmission of the record.” Id. § 2911.

       To prevent the unlawful destruction or removal of records, the FRA creates a “system of

administrative enforcement.” Armstrong, 924 F.2d at 294. If an agency head becomes aware of

“any actual, impending, or threatened unlawful removal, defacing, alteration, corruption,

deletion, erasure, or other destruction of records in the custody of the agency,” the agency head

“shall notify the Archivist” and “with the assistance of the Archivist shall initiate action through

the Attorney General for the recovery” of those records. 44 U.S.C. § 3106(a). If the agency

head “does not initiate an action for such recovery or other redress within a reasonable period of

time after being notified of any such unlawful action . . . or is participating in, or believed to be

participating in any such unlawful action, the Archivist shall request the Attorney General to

initiate such an action, and shall notify the Congress when such a request has been made.”



                                                   3
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 4 of 19




Id. § 3106(b). If both the agency head and the Archivist refuse to seek the initiation of an

enforcement proceeding, then private litigants may sue under the Administrative Procedure Act

to require them to do so. Armstrong, 924 F.2d at 295.

B.     Factual and Procedural Background

       This case concerns former Secretary of Veterans Affairs David Shulkin’s use of a private

email account to conduct official VA business, including communications about VA policy with

President Trump’s private associates from his Mar-a-Lago Club. Dkt. 1 at 2 (Compl. ¶¶ 2–3).

       Plaintiffs submitted Freedom of Information Act (“FOIA”) requests to the VA seeking

former Secretary Shulkin’s emails. On May 4, 2018, and August 23, 2018, Plaintiff American

Oversight requested “records regarding the influence of the Mar-a-Lago associates on VA

policies and operations and records reflecting communications between agency officials and

those private associates of the president.” Dkt. 1 at 5 (Compl. ¶ 11). On July 2, 2019, American

Oversight submitted an additional FOIA request seeking “all emails sent or received by former

Secretary Shulkin on any personal email account regarding agency business.” Id. On

September 3, 2018, Plaintiff Democracy Forward submitted a FOIA request to the VA seeking

“communications between VA officials, including former Secretary Shulkin, and the Mar-a-Lago

associates and other records with the potential to shed light on the influence of those associates

of the president on VA policies and operations.” Id. at 6 (Compl. ¶ 13). On July 11, 2019,

Democracy Forward submitted a further FOIA request to the VA “seeking all emails sent or

received by former Secretary Shulkin on any personal, non-governmental, or nonofficial email

account regarding official agency business.” Id.

       In response to those requests, the VA released records indicating that senior agency

officials, including Shulkin, communicated about VA policies and operations with “three of



                                                 4
         Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 5 of 19




President Trump’s Mar-a-Lago Club associates: Marc Sherman, Bruce Moskowitz, and Isaac

‘Ike’ Perlmutter.” Id. at 10–11 (Compl. ¶ 32–33) (citing Mar-a-Lago FOIA Records, Democracy

Forward Found. (last visited Oct. 29, 2020), available at https://democracyforward.org/mar-a-

lago-foia-records/; VA Records Regarding Concerned Veterans of America, American Oversight

(Oct. 15, 2019), available at https://www.americanoversight.org/document/va-records-regarding-

concerned-veterans-of-america). Those records also revealed that former Secretary Shulkin had

corresponded with the President’s Mar-a-Lago associates about official government business

using a private email account, without either copying his official account on the messages or

forwarding the conversations to his official account, in violation of the FRA. Dkt. 1 at 11

(Compl. ¶ 34). Media reports cited in Plaintiffs’ complaint suggest that Shulkin created these

private email accounts for the specific purpose of communicating with the President’s associates

from the Mar-a-Lago Club. Id. (Compl. ¶ 35) (citing Ben Kesling, House Democrats to Probe

How Trump’s Associates Influenced the VA, Wall St. J. (Feb. 8, 2019, 9:02 AM), available at

https://www.wsj.com/articles/house-democrats-to-probe-howtrumps-associates-influenced-the-

va-11549634520).

       Emails from former Secretary Shulkin’s private accounts made their way into the VA’s

initial productions to Plaintiffs only in the relatively rare situations in which Shulkin happened to

forward those emails to a subordinate’s official account. Dkt. 1 at 12 (Compl. ¶ 37). Plaintiffs

allege that the “VA’s preservation and production only of incidentally forwarded email

communications demonstrates that private email communications concerning agency business

that Secretary Shulkin did not incidentally forward to a VA subordinate’s official account have

been unlawfully removed from VA custody.” Id. at 12–13 (Compl. ¶ 39). Because Secretary

Shulkin failed to transfer all agency records located in his private email accounts to his own



                                                  5
         Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 6 of 19




official email account, he unlawfully removed those records from VA custody, in violation of the

FRA. Id. at 13 (¶ 40).

       On April 23, 2019, Plaintiff Democracy Forward sent a letter to Secretary Wilkie and the

VA, copying Archivist Ferriero, to request that Secretary Wilkie act under the FRA to recover

the records that former Secretary Shulkin removed, including by initiating an enforcement action

through the Attorney General. Id. at 13 (Compl. ¶ 41); see also id. at 30–33 (Ex. C). To the

extent that Secretary Wilkie failed to take such action, the letter requested that the Archivist

initiate an enforcement action by the Attorney General to recover those records. Id. at 13

(Compl. ¶ 41). On May 14, 2019, Plaintiff American Oversight sent a similar letter seeking

action from Secretary Wilkie and/or the Archivist to recover the missing records. Id. at 13–14

(Compl. ¶ 42); see also id. at 35–42 (Ex. D). Neither Plaintiff received a response to its letter,

id. at 13–14 (Compl. ¶¶ 41–42), and neither the VA nor the Archivist has initiated an

enforcement action through the Attorney General to recover the records, id. at 15 (Compl. ¶¶ 45–

46). In separate FOIA litigation, moreover, Secretary Wilkie acknowledged that the agency had

not yet recovered all the federal records located in former Secretary Shulkin’s private email

account. Id. at 14–15 (Compl. ¶ 44) (citing American Oversight v. U.S. Dep’t of Veterans

Affairs, No. 18-cv-2463 (D.D.C. June 27, 2019) (Dkt. 14 at 3)).

       On August 21, 2019, Plaintiffs filed this lawsuit seeking to compel Defendants to initiate

an enforcement action through the Attorney General as required by the FRA, alleging that their

failure to do so has hindered Plaintiffs’ ability to acquire the records they sought in their FOIA

requests. Dkt. 1. Several factual and procedural developments have followed the filing of

the complaint.




                                                  6
         Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 7 of 19




       On October 28, 2019, Defendants filed a motion to dismiss, arguing that the case was not

ripe in light of the VA’s “ongoing—and to date, successful—efforts” to retrieve the missing

records on its own, without resorting to the Attorney General’s assistance. Dkt. 7 at 5.

Defendants attached to their motion a declaration from John Buck, Director of the Office of

Privacy Information and Identity Protection within the VA Office of Information Technology,

detailing the agency’s progress in recovering the records from Shulkin’s private email accounts.

Dkt. 7-1 (Buck Decl.). The declaration explains that Buck learned, as a result of press coverage,

about Shulkin’s use of his private email address for official business in February 2019. Id. at 2

(Buck Decl. ¶ 4). After an internal review, the VA sent a letter to Shulkin asking that he provide:

       (1) A list of all non-official email addresses Dr. Shulkin may have used to
       conduct VA business;

       (2) copies of all messages, including attachments, Dr. Shulkin sent or received
       during [his] tenure as the VA Secretary, using a non-official email account to
       conduct VA business; and

       (3) copies of any other official records Dr. Shulkin may have in his possession
       and written confirmation that (a) all such records have been provided to the VA,
       (b) Dr. Shulkin has retained no copies of such records, and (c) Dr. Shulkin does
       not have awareness of any such messages not provided to the VA.

Dkt. 7 at 7 (citing Dkt. 7-1 at 2 (Buck Decl. ¶ 5)) (internal quotation marks and brackets

omitted); see also Dkt. 7-1 at 6–7 (Ex. A).

       On June 21, 2019, Shulkin, through counsel, responded to the VA’s letter. Dkt. 7-2 at 2–

3 (Buck Decl. ¶ 6). He sent the VA approximately 21,985 pages of documents, id., which he

identified in an attached cover letter as “records [he] created or received during [his] tenure at the

VA and that [he] believe[d] fall under the Federal Records Act,” id. at 9 (Ex. B). Shulkin wrote

that he “took reasonable steps,” including consulting counsel, “to determine which messages on

non-official email accounts are [f]ederal records.” Id. But he included the caveat that he is “not

an attorney, let alone an expert on the Federal Records Act,” and he reserved the right to
                                                  7
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 8 of 19




supplement his response if he found additional records. Id. As of the date of the Buck

Declaration, October 24, 2019, the VA was reviewing the documents Shulkin provided and

identifying federal records contained therein. Id. at 3 (Buck Decl. ¶ 7). Pending the completion

of that review, the agency had made “no final decision” as to “whether any further actions are

necessary or appropriate to ensure that all potential [f]ederal records from Dr. Shulkin’s personal

email” had been recovered. Id. (Buck Decl. ¶ 8). On October 18, 2019, the VA sent Shulkin’s

counsel a letter requesting that he “preserve all emails in the non-official email accounts he used

to conduct VA business that were sent or received during the period he was VA Secretary.” Id.

at 3–4 (Buck Decl. ¶ 9).

       On November 15, 2019, the Court held a status conference to address Defendants’

motion to dismiss. Dkt. 9. At the hearing, the Court asked two questions left unanswered by

Defendants’ motion and the Buck Declaration. First, the Court asked whether former Secretary

Shulkin had responded to the VA’s letter asking that he preserve all of his emails while the

agency conducted its review of the initial documents he had provided. Dkt. 9 at 3. Second, the

Court asked what methods or criteria Shulkin had used to separate out the federal records in his

private email accounts and how the agency would determine the completeness of the records he

had provided. Dkt. 9 at 7.

       Although counsel had few answers at the hearing, Defendants addressed these questions

in a status report filed on December 13, 2019. Dkt. 10. First, Defendants explained that the VA

received a letter from Shulkin on November 13, 2019, in which he committed to preserving all

messages in his private email accounts from the period when he served as Secretary of Veterans

Affairs (and, through counsel, he later committed to preserving emails from his tenure as Under

Secretary of Veterans Affairs for Health as well). Dkt. 10 at 1–2. As for the search criteria that



                                                 8
         Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 9 of 19




Shulkin had used to identify federal records within his private email accounts, the status report

stated that he had employed a “guiding principle that any email sent or received during his tenure

as Under Secretary of Veterans Affairs for Health or his tenure as Secretary of Veterans Affairs

that pertained to agency business constituted a federal record.” Dkt. 10 at 2. Shulkin started by

consolidating all messages from two private email accounts sent or received during his tenure at

the VA. Id. He then used “broad search terms” to identify “the likely universe of federal records

in his personal email.” Id. Finally, he “reviewed the results”—the status report did not indicate

what this review entailed—“and marked for production all emails that pertained to VA

business.” Id. This process led to the nearly 22,000 pages that he sent to the VA. Id. at 3. The

status report further asserted that Defendants had “raised a number of follow-up questions about

Dr. Shulkin’s search methodology with his counsel” and that Shulkin’s efforts, “although

considerable, require some supplementation to identify and recover all federal records residing in

his personal email accounts.” Id. Defendants relayed that Shulkin had expressed a willingness

to cooperate in identifying any remaining federal records in his private email accounts. Id.

       On January 16, 2020, Plaintiffs filed their opposition to the motion to dismiss, Dkt. 12,

and, on February 7, 2020, Defendants filed their reply, Dkt. 13, attaching another declaration

from Buck with further factual developments, Dkt. 13-1 (2d Buck Decl.). On December 23,

2019, Shulkin provided “nearly 31,000 additional pages of documents to VA from his personal

accounts, bringing his total production to nearly 53,000 pages.” Dkt. 13 at 6 (citing Dkt. 13-1

at 2 (2d Buck Decl. ¶ 5)). As of the filing of Defendants’ reply, the VA’s review of these

additional documents was ongoing, and the agency had yet to determine “what (if any) further

actions are necessary to ensure that it has possession of all federal records from Dr. Shulkin.”

Dkt. 13 at 6.



                                                 9
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 10 of 19




                                      II. LEGAL STANDARD

       Federal courts are courts of limited subject-matter jurisdiction and “possess only that

power authorized by the Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994). Given “the nature and limits of the judicial power of the United

States,” the Court must assess its jurisdiction “as a threshold matter” and may not decide the

merits of a case without first addressing the issue of jurisdiction. Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 94–95 (1998) (quoting Mansfield, C. & L.M.R. Co. v. Swain, 111 U.S.

379, 382 (1884)). The plaintiff bears the burden of establishing jurisdiction. Kokkonen, 511

U.S. at 377. It is axiomatic that “subject matter jurisdiction may not be waived” and that “no

action of the parties can confer subject-matter jurisdiction upon a federal court.” NetworkIP, LLC

v. FCC, 548 F.3d 116, 120 (D.C. Cir. 2008) (internal quotation marks and citations omitted).

       A motion to dismiss under Rule 12(b)(1) challenges the Court’s jurisdiction to hear a

claim and may raise a “facial” or a “factual” challenge to the Court’s jurisdiction. See Hale v.

United States, No. 13-1390 (RDM), 2015 WL 7760161, at *3–4 (D.D.C. Dec. 2, 2015). A facial

challenge to the Court’s jurisdiction contests the legal sufficiency of the jurisdictional allegations

contained in the complaint. See Erby v. United States, 424 F. Supp. 2d 180, 182 (D.D.C. 2006).

For a facial challenge, the Court must accept the allegations of the complaint as true and must

construe “the complaint in the light most favorable to the non-moving party.” Id.; see I.T.

Consultants, Inc. v. Republic of Pakistan, 351 F.3d 1184, 1188 (D.C. Cir. 2003). In this sense,

the Court must resolve the motion in a manner similar to a motion to dismiss under Rule

12(b)(6). See Price v. Socialist People’s Libyan Arab Jamahiriya, 294 F.3d 82, 93

(D.C. Cir. 2002).




                                                  10
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 11 of 19




        Alternatively, a Rule 12(b)(1) motion may pose a “factual” challenge to the Court’s

jurisdiction. Erby, 424 F. Supp. 2d at 182–83. For factual challenges, the Court “‘may not deny

the motion to dismiss merely by assuming the truth of the facts alleged by the plaintiff and

disputed by the defendant,’ but ‘must go beyond the pleadings and resolve any disputed issues of

fact the resolution of which is necessary to a ruling upon the motion to dismiss.’” Id. (quoting

Phoenix Consulting Inc. v. Republic of Angola, 216 F.3d 36, 40 (D.C. Cir. 2000)). In this

context, the factual allegations of the complaint are not entitled to a presumption of validity, and

the Court is required to resolve factual disputes between the parties. Id. at 183. The Court may

consider the complaint, any undisputed facts, and “‘the [C]ourt’s resolution of disputed facts.’”

Id. (quoting Herbert v. Nat’l Acad. of Scis., 974 F.2d 192, 197 (D.C. Cir. 1992)).

        A factual challenge to the jurisdictional allegations of a complaint, however, is subject to

a significant limitation. As the D.C. Circuit has admonished, although a district court “may rule

on disputed jurisdictional facts at any time, if they are inextricably intertwined with the merits of

the case it should usually defer its jurisdictional decision until the merits are heard.” Herbert,

974 F.2d at 198. This proviso to the usual rule ensures that, where jurisdictional defenses and

the merits of a dispute overlap, the jurisdictional defense is not used—in the absence of special

considerations—to short-circuit the factual development and adjudicative process to which a

plaintiff is generally entitled.

                                          III. DISCUSSION

        In their motion to dismiss, Defendants concede many of the facts on which Plaintiffs’ suit

is premised. Dkt. 7. They acknowledge that former Secretary Shulkin used a private email

account for official agency business in violation of the FRA, id. at 8, and they admit that the VA

is obligated to recover those federal records, id. at 10–11. Defendants’ motion to dismiss argues



                                                 11
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 12 of 19




only that the case is not yet ripe because of the VA’s ongoing efforts to recover the records on its

own. Dkt. 7 at 10–15. The motion thus presents the question of when an agency’s failure to

initiate an enforcement action through the Attorney General for the recovery of records, as

required by the FRA, becomes ripe for judicial review. But because the facts necessary to

resolve that question are “inextricably intertwined with the merits of the case,” the Court will

defer its jurisdictional decision until the merits are heard. See Herbert, 974 F.2d at 198.

        The D.C. Circuit’s FRA precedents establish two competing principles. First, although

the FRA does not create an implied cause of action for private parties to seek recovery of records

that were unlawfully removed from an agency, see Kissinger v. Reporters Comm. for Freedom of

the Press, 445 U.S. 136, 148–150 (1980), plaintiffs can bring suit under the Administrative

Procedure Act, (“APA”), 5 U.S.C. § 706(1), to challenge the “agency head’s or Archivist’s

refusal to seek the initiation of an enforcement action by the Attorney General,” Armstrong, 924

F.2d at 295; see also Judicial Watch, Inc. v. Kerry, 844 F.3d 952, 954 (D.C. Cir. 2016). The

failure to bring an enforcement action is amenable to judicial review because of the FRA’s “clear

statutory language mandating that the agency head and Archivist seek redress for the unlawful

removal or destruction of records.” Armstrong, 924 F.2d at 296; see 44 U.S.C. § 3106. Thus,

“[i]n contrast to a statute that merely authorizes an agency to take enforcement action as it deems

necessary, the FRA requires the agency head and Archivist to take enforcement action.”

Armstrong, 924 F.2d at 295 (emphasis in original). And the FRA, with its use of “shall,” leaves

the agency head and Archivist “no discretion to determine which cases to pursue.” Id. (emphasis

in original).

        But, at the same time, the court of appeals has noted that the FRA allows the agency to

“first attempt[] its own remedial measures (rather than immediately rushing to the Attorney



                                                 12
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 13 of 19




General).” Kerry, 844 F.3d at 954. Indeed, “the FRA contemplates that the agency head and

Archivist may proceed first by invoking the agency’s ‘safeguards against the removal or loss of

records.’” Armstrong, 924 F.2d at 296 n.12 (quoting 44 U.S.C. § 3105). Such safeguards may

include “intra-agency actions” like “disciplining the staff involved in the unlawful action,

increasing oversight by higher agency officials, or threatening legal action.” Id.

       To harmonize these principles, decisions in this circuit have consistently held that if an

agency’s own remedial efforts succeed in recovering every reasonably acquirable record, then a

lawsuit seeking to compel the agency to initiate an enforcement action through the Attorney

General becomes moot. See Cause of Action Inst. v. Pompeo, 319 F. Supp. 3d 230, 236 (D.D.C.

2018); Judicial Watch, Inc. v. Tillerson, 293 F. Supp. 3d 33, 46–47 (D.D.C. 2017), aff’d sub

nom. Judicial Watch, Inc. v. Pompeo, 744 F. App’x 3 (D.C. Cir. 2018). But the bar for

establishing mootness in an FRA case is a high one. Even where the agency’s efforts have borne

“some fruit,” an agency seeking dismissal of an APA/FRA action must “explain[] why shaking

the tree harder—e.g., by following the statutory mandate to seek action by the Attorney

General—might not bear more still.” Kerry, 844 F.3d at 955. Thus, unless the agency can show

“that the requested enforcement action could not shake loose a few more emails, the case is not

moot.” Id.

       Here, the VA does not, and could not, argue that the case is moot—at least not yet.

Although Shulkin has provided more than 50,000 pages of documents, the Court has no basis for

determining how many total federal records his private email accounts contained. Those 50,000

pages might constitute all of the records that the agency needs to recover or only a fraction of

them. Even at the time the VA filed its reply brief, the agency was still in the process of




                                                 13
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 14 of 19




determining “what (if any) further actions are necessary to ensure that it has possession of all

federal records from Dr. Shulkin.” Dkt. 13 at 6. In short, the case is not moot.

       Rather than relying on mootness, Defendants invoke a different justiciability doctrine:

ripeness. They argue that the pending lawsuit is not ripe for decision because the “VA has taken

steps to secure the documents at issue in Plaintiffs’ complaint without litigation[] and has not

made a final decision about how to proceed pending further review of the materials received

from Dr. Shulkin.” Dkt. 7 at 11. Defendants assert that the “agency’s continuing inquiry alone

establishes Plaintiffs’ claim is not ripe.” Id. And waiting to see whether the agency will

eventually recover all of the records in Shulkin’s private email accounts could “prevent the need

for court intervention and conserve judicial resources.” Id. at 13. By invoking the ripeness

doctrine, Defendants draw the two aspects of the D.C. Circuit’s APA/FRA precedent back into

tension, posing the question: at what point does the agency’s leeway to recover the records on its

own end and its obligation to ask the Attorney General for help begin?

       In response, Plaintiffs argue, among other things, that this is a question for the merits, not

a question that goes to the Court’s jurisdiction, and that Defendants’ motion, in effect, “seeks a

ruling on the merits of Plaintiffs’ claims of unreasonable delay under the guise of ripeness.” Dkt.

12 at 16 (emphasis in original). Plaintiffs premise their claims on 5 U.S.C. § 706(1), which

provides that a reviewing court shall “compel agency action unlawfully withheld or unreasonably

delayed.” 5 U.S.C. § 706(1). They argue that the ripeness doctrine “applies differently” to

claims of unreasonable delay, because requiring an agency to finalize its administrative process

before exercising judicial review over a claim whose very premise is that the administrative

process is taking too long would be “definitionally illogical.” Dkt. 12 at 18. Rather, in

Plaintiffs’ view, any dispute over the sufficiency of the agency’s “reluctant and gentle remedial



                                                 14
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 15 of 19




actions,” id. at 16, composed of “plodding engagement and ‘kindly’ requests for voluntary

compliance,” id. at 27, goes to the merits of whether the agency has unreasonably delayed

initiating an enforcement action through the Attorney General, id. at 23–24.

        The dividing line between questions of jurisdiction and questions for the merits is not

always clear. But for the purposes of resolving the pending motion, the Court need not draw that

line. Defendants’ challenge to the Court’s jurisdiction is a factual one, which depends on

information outside the pleadings. See Feldman v. FDIC, 879 F.3d 347, 351 (D.C. Cir. 2018).

As such, the Court must “give the plaintiff ample opportunity to secure and present evidence

relevant to the existence of jurisdiction” and must give Plaintiffs “the benefit of all reasonable

inferences.” Id. (internal quotations marks and citations omitted). And, even more crucial here,

if the “jurisdictional facts . . . are inextricably intertwined with the merits of the case,” then the

Court should “defer its jurisdictional decision until the merits are heard.” Herbert, 974 F.2d at

198. Here, the ripeness inquiry and the merits are inextricably intertwined.

        Defendants’ motion to dismiss turns on what is known as “prudential” ripeness. 1 See

Garcia v. Acosta, 393 F. Supp. 3d 93, 105 (D.D.C. 2019). To determine whether a case is




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  Ripeness doctrine subsumes two inquiries—the Article III requirement that plaintiffs
demonstrate an injury-in-fact as well as separate “‘prudential reasons for refusing to exercise
jurisdiction.’” Devia v. Nuclear Regul. Comm’n, 492 F.3d 421, 424 (D.C. Cir. 2007) (quoting
Nat’l Park Hospitality Ass’n v. Dep’t of the Interior, 538 U.S. 803, 807–08 (2003)). Although
the case law on the topic is not entirely clear, courts in this circuit have treated the “prudential”
aspect of ripeness doctrine as jurisdictional. See, e.g., Wyo. Outdoor Council v. U.S. Forest
Serv., 165 F.3d 43, 48–49 (D.C. Cir. 1999); Finca Santa Elena, Inc. v. U.S. Army Corps of
Eng’rs, 873 F. Supp. 2d 363, 370–71 (D.D.C. 2012) (granting Rule 12(b)(1) motion to dismiss
based on lack of prudential ripeness). For present purposes, the Court need not decide whether
an absence of prudential ripeness means that a case falls outside the Court’s subject-matter
jurisdiction or rather offers a basis on which a Court might decline to review a case that falls
within its jurisdiction. See Nat’l Park Hospitality Ass’n, 538 U.S. at 808 (distinguishing between
Article III limitations on judicial power and prudential limitations on the exercise of that power);
Reno v. Catholic Social Services, Inc., 509 U.S. 43, 57, n.18 (1993) (same).
                                                   15
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 16 of 19




prudentially ripe for judicial review, courts look to “the fitness of the issues for judicial decision”

and “the hardship to the parties of withholding court consideration.” Abbott Labs. v. Gardner,

387 U.S. 136, 149 (1967). Under the fitness prong of the test, the Court considers whether the

issue is “purely legal, whether consideration of the issue would benefit from a more concrete

setting, and whether the agency’s action is sufficiently final.” Devia v. Nuclear Regul. Comm’n,

492 F.3d 421, 424 (D.C. Cir. 2007) (internal quotation marks and citations omitted).

       On the merits of a § 706(1) claim, the Supreme Court has explained that suits seeking to

“compel agency action unlawfully withheld or unreasonably delayed” can proceed “only where a

plaintiff asserts that an agency failed to take a discrete agency action that it is required to take.”

Norton v. S. Utah Wilderness All., 542 U.S. 55, 64 (2004) (emphasis in original). As Plaintiffs

note, courts have recognized the awkward fit between the ripeness doctrine, which generally

requires courts to wait until the end of an agency process to undertake their review, and the

merits of a § 706(1) claim, where the challenged action is a failure to act. See Fort Sill Apache

Tribe v. Nat’l Indian Gaming Comm’n, 103 F. Supp. 3d 113, 119 (D.D.C. 2015) (“For actions

involving delay of an administrative action, the lack of a final order by the agency, which might

otherwise engender a question about ripeness, does not preclude this court’s jurisdiction.”)

(internal quotation marks and citations omitted); see also Air Line Pilots Ass’n, Int’l v. CAB, 750

F.2d 81, 85 (D.C. Cir. 1984) (“By definition, a claim of unreasonable delay cannot await final

agency action before judicial review, since it is the very lack of agency action which gives rise to

the complaint.”).

       But regardless of that tension, what matters here is that the ripeness inquiry substantially

overlaps with the merits. As explained above, the dispute in this case lies on a fault line in the

D.C. Circuit’s precedent, which holds both that an agency must request an enforcement action



                                                  16
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 17 of 19




from the Attorney General when records are removed or destroyed but also that the agency may

try to solve the problem on its own first. Compare Armstrong, 924 F.3d at 295–96, with id. at

296 n.12. The question before the Court is at what point the agency’s duty to bring in the

Attorney General under the FRA, 44 U.S.C. § 3106, kicks in. That question can be framed as

going to ripeness, but it can just as easily be framed as going to the merits of the § 706(1) claim:

As a matter of ripeness, must a Court wait until an agency says that its internal efforts to retrieve

the missing records are complete before exercising jurisdiction, no matter how long those efforts

take or no matter how unsuccessful they may be? Or, on the merits, does an ongoing agency

effort to retrieve the records, even if slow or ineffectual, prevent a court from finding that the

agency has unreasonably delayed turning to the Attorney General for help? For present

purposes, however, what matters is that the facts required to answer the ripeness inquiry are the

same facts required to answer the merits questions. And for that reason, the Court will withhold

judgment on the ripeness question until later in the litigation, once the parties have had an

opportunity to develop the record with respect to both the Court’s jurisdiction and the merits.

       In their reply, Defendants invoke a pair of cases from this district to show that the

ripeness and merits inquiries do not overlap and that the ripeness doctrine applies will full force

to claims under § 706(1). Dkt. 13 at 13. Upon close inspection, however, neither precedent

supports Defendants’ position. One of the cases on which Defendants rely, Hi-Tech Pharmacal

Co. v. U.S. Food & Drug Admin., 587 F. Supp. 2d 1, 9 (D.D.C. 2008), simply does not stand for

the proposition for which Defendants cite it, see Dkt. 13 at 13. In mistakenly asserting that the

court in Hi-Tech denied a preliminary injunction motion because the plaintiff’s § 706(1) claim

was unripe, Defendants conflate two different holdings in the case. Hi-Tech rejected claims

under § 706(2) of the APA, which provides for substantive review of final agency actions, on



                                                  17
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 18 of 19




ripeness grounds. Hi-Tech, 587 F. Supp. 2d at 10. But the court rejected the plaintiff’s separate

§ 706(1) claim on the merits, holding that the plaintiff was not entitled to relief because the

delayed action in question was “not a discrete agency action that the [agency] is required to take,

pursuant to statute or regulation, by a time certain.” Id. at 9.

       The decision in Mylan Pharm. Inc. v. U.S. Food & Drug Admin., 789 F. Supp. 2d 1, 13

(D.D.C. 2011), in contrast, does include some language favorable to Defendants’ arguments—

but that language is premised on the same misreading of Hi-Tech. Mylan observed that “final

agency action—or its functional equivalent—is a prerequisite to judicial review, even for claims

brought under § 706(1) of the APA for unreasonable delay.” Id. The Court disagrees with that

assertion, but only to the extent it is directed at § 706(1); the Court would agree if the statement

were, as in Hi-Tech, directed at a claim brought under § 706(2) that substantively challenged “a

failure to act” as though it were final agency action. Hi-Tech, 587 F. Supp. 2d at 8–10. The very

next sentence of the Mylan decision, in any event, returns to the test for evaluating a § 706(1)

claim on the merits: “[A] claim under Section 706(1) can proceed only where a plaintiff asserts

that an agency failed to take a discrete agency action that it is required to take.” Mylan,

789 F. Supp. 2d at 13 (internal quotation marks and citations omitted). Here, Plaintiffs sue under

§ 706(1), and thus they need not identify a “final agency action” or “its functional equivalent.” 2

They must, however, demonstrate that the VA has failed to take a discrete agency action that it

was required to take, and that merits question merges with the ripeness inquiry of whether the

agency has done enough, promptly enough to comply with the statutory directive to “initiate



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  Although not crystal clear, it appears that Plaintiffs also sue under § 706(2), Dkt. 1 at 17
(Compl. ¶ 58), and that they have failed to identify a final agency action sufficient to support
such a claim. But because Defendants raised this issue for the first time in reply, Dkt. 13 at 12,
the Court will not decide, on the current record, whether Plaintiffs have stated a claim under
§ 706(2).
                                                  18
        Case 1:19-cv-02519-RDM Document 14 Filed 10/30/20 Page 19 of 19




action through the Attorney General” to obtain “recovery of records the head of the . . . agency

knows or has reason to believe have been unlawfully removed.” 44 U.S.C. § 3106(a)

       Because the facts required to decide Defendants’ ripeness challenge are the same facts

relevant to the merits of Plaintiffs’ claims, the Court will defer its ripeness determination.

                                          CONCLUSION

       For the foregoing reasons, the Court DENIES Defendants’ motion to dismiss.

Defendants may renew their ripeness argument on summary judgment or, if they are able to

retrieve all of the federal records from Shulkin’s personal email, argue instead that the case is

moot at that time.

       SO ORDERED.

                                                       /s/ Randolph D. Moss
                                                       RANDOLPH D. MOSS
                                                       United States District Judge


Date: October 30, 2020




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